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                                                             Exhibit A
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 Animal Product Manual




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                When using pesticies, read and follow all label instructions.




                Second Edition Issued 2014
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      Chapter
                   Reference
      3            Milk/Milk Products



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Reference
Introduction




Introduction
                  NOTICE
                  APHIS recognizes that rinderpest (RP) has been eradicated worldwide and, as a
                  result, all restrictions to regulations concerning communicable diseases of livestock
                  and poultry, interstate transportation and importation of animals (including poultry)
                  and animal products, and permits for biological products have been amended to
                  remove references to the animal disease rinderpest (RP). The Animal Product Man-
                  ual (APM) has been amended as necessary in accordance with this Rule (Docket
                  No. APHIS-2017-0070 [https://www.federalregister.gov/documents/2018/04/11/
                  2018-07232/rinderpest-update-of-communicable-animal-disease-provisions]). This
                  Rule is effective April 11, 2018. In the event any exporting country’s certificate lan-
                  guage and/or permit retains the words “rinderpest” or “RP,” please disregard those
                  words and allow entry if all other import requirements are satisfied.
                 Milk and Milk Products Covered in This Section
                 This section covers all products derived from milk, including the following:

                 Animal feed/pet food containing milk as the only animal-origin ingredient
                 Cultured milk products and their dry derivatives
                 Dry milk products
                 Fresh (chilled or frozen) milk products that are pasteurized and require
                   refrigeration
                 Shelf-stable food products containing milk or milk products, usually
                   prepackaged for individual use
                 Shelf-stable milk products heat processed to the extent at which
                   refrigeration is not necessary
                 Miscellaneous products derived from milk that do not logically fit into
                   one of the above divisions

                  NOTICE
                  Disregard all dates stamped on cans or labels of milk or milk products. These dates
                  are only for quality control and have no application for determining admissibility.

                  NOTICE
                  Never apply 9 CFR § 94.11 to milk or milk products. This CFR restricts importations
                  of meat and meat products from specified countries. The specified countries listed
                  under 9 CFR § 94.11 are free of FMD; therefore, the live animal population is consid-
                  ered free of FMD.

                 Milk and milk products are not regulated according to the BSE status of a
                 country.




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                                                                                          Reference
                                                                                         Introduction



                   Cultured Milk Products

                    Acidophilus milk                      Lactic acid
                    Cultured buttermilk                   Ripened cream butter
                    Cultured cream                        Sour cream
                    Cultured milk-based soft drinks       Sour cream dip
                      (i.e., CALPIS®)
                    Créme frâiche                         Yogurt (including dry yogurt
                                                              products)

                   Dry Milk Products
                   Dry buttermilk
                   Dry ice cream mix
                   Dry milk fractions
                      I.e., casein, caseinate, glucose, lactase, lactalbumin, lactoglobulin,
                        milk protein concentrate, and total milk protein
                   Dry whey
                   Dry whole milk
                   Formulations containing dry milk products
                      I.e., baking mixes, hot cocoa mixes, instant cake mixes, instant
                        pudding mixes, pancake mixes, potato flakes, and powdered infant
                        formula
                   Lactulose, galactose, lactose (milk sugar)
                   Nonfat dry milk
                   Powdered milk
                   Fresh Milk Products
                   The following are fresh (chilled or frozen) milk products that are pasteurized
                   and require refrigeration.

                   Cream (including half-and-half and heavy cream)
                   Ice cream
                   Milk and skim milk
                   Sherbet
                   Whey




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Reference
Introduction



                 Canned or Packaged Shelf-Stable Milk Products, Including
                 Mixtures

                  Canned cream                              Lactulose (powder or syrup)
                  Canned milk                               Long-life milk
                  Condensed milk (sweetened and             Sterilized milk
                    unsweetened)
                  Evaporated milk                           Sterilized yogurt
                  Hot-pack cream cheese                     Sweet cultured cream
                  Hot-pack sour cream                       Sweetened milk
                  Lactalbumin (including dry
                    powder)

                  NOTICE
                  Some processes that make the milk shelf stable are not sufficient to inactivate the
                  FMD virus. Some processes use a combination of sugar and heat to preserve the
                  product, such as condensed and sweetened milk.
                 Canned or Packaged Shelf-Stable Products Containing Milk
                 or Milk Products
                 The following are shelf-stable products (usually prepackaged for individual
                 use) containing milk or milk products in addition to other ingredients.

                  Baby or infant formula                    Confectioneries—sweet
                                                                preparation (i.e., candy only
                                                                that may be made from milk or
                                                                milk products and/or egg or egg
                                                                products, e.g., cajeta, lacto
                                                                king, milk candy, pastillas de
                                                                leche, dulce de leche, and
                                                                polvoron, etc.)
                  Candy                                     Cream and cheese soups




3-14-4                             Animal Product Manual                                    12/2020-216
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                                                                                                         Reference
                                                                                      Milk and Milk Products Locator



                             Miscellaneous Products Derived from Milk

                              Butter                                   Clotted cream
                              Butter oil (anhydrous milk fat)          Ghee (clarified butter)
                              Cheese, hard                             Liquid cheese or cheese that
                                                                           pours like heavy cream
                              Cheese, soft


  Milk and Milk Products Locator
                             Milk or Milk Products Transiting the United States for Export
                             When milk or milk products are merely transiting the United States, follow the
                             special procedures for Biological Material, Animal Products or Byproducts
                             Transiting for Export on page 2-4-11.

                             Milk or Milk Products OTHER THAN Those Transiting the
                             United States for Export
                             When a VS permit authorizes entry of the product, match the shipping
                             documents with the information on the permit as follows:

                             Conditions spelled out on the permit
                             Consignee
                             Current date
                             Description of the material
                             Shipper
  Table 3-14-1 How to Match a VS Permit With Shipping Documents
   If the shipping documents:       And the:                  Then:
   Match the permit                                           RELEASE or CONTROL as specified on the permit

   Do not match the permit         Permit has expired         1. DO NOT RELEASE the HOLD
                                                              2. REQUIRE the consignee to contact VS–Animal Prod-
                                                                 ucts Import Staff (SEE Appendix F)
                                                              3. SAFEGUARD the importation until contacted by VS–
                                                                 Animal Products Import Staff
                                   Discrepancy is other       1. DO NOT RELEASE the HOLD
                                   than an expired permit     2. CONTACT PPQ–AQI–VMO or PPQ–QPAS–ADE–HQ
                                                                 personnel for further action (SEE Appendix F)

                             To determine the appropriate regulatory action for the specific milk and milk
                             products as well as what (if any) documentation is required, see Table 3-14-2
                             on page 3-14-6.



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Reference
Milk and Milk Products Locator



Table 3-14-2 Milk or Milk Products Locator
 If the milk or milk product is:      And:                                   And:                     Then:
 Cheese, with or without meat         Is solid or pasteurized processed                               SEE Table 3-14-6

                                      Is not solid or is not pasteurized                              SEE Table 3-14-7
                                      processed
 Condensed or evaporated milk         Sugar is listed as an ingredient                                SEE Table 3-14-5

                                      Sugar is not listed as an ingredi-                              RELEASE
                                      ent
 Cultured milk products, includ-
 ing dried forms1, 2
 Dry milk or dry milk product         Is a fixative3 in a mixture of other
                                      ingredients
                                      Is other than a fixative in a mix-                              SEE Table 3-14-3
                                      ture of other ingredients
 Ice cream or frozen dessert                                                                          SEE Table 3-14-4

 Lactose, galactose, or lactulose     Is accompanied by VS-recom-                                     RELEASE
                                      mended documentation4
                                      Lacks VS-recommended docu-                                      CONTACT AQI–
                                      mentation                                                       VMO
 Liquid infant formula                Perishable                                                      SEE Table 3-14-4

                                      Shelf stable (long life)               Sugar is listed as an    SEE Table 3-14-5
                                                                             ingredient
                                                                             Sugar is not listed as   RELEASE
                                                                             an ingredient
 Milk, cream, eggnog, or milk-        Perishable                                                      SEE Table 3-14-4
 based dumplings5
                                      Shelf stable                           Sugar is listed as an    SEE Table 3-14-5
                                                                             ingredient
                                                                             Sugar is not listed as   RELEASE
                                                                             an ingredient
 Milk feed, milk replacer, and ani-                                                                   SEE Table 3-14-11
 mal feed/pet food products con-
 taining milk/milk products
 Miscellaneous dairy product or       Butter, butter oil (anhydrous milk                              RELEASE
 item contains a dairy product        fat), buttons made from casein or
                                      ghee
                                      Candy or confectioneries con-
                                      taining milk/milk products and/or
                                      egg/egg products and/or vitamin
                                      A and/or vitamin D3 ingredients
                                      Dairy product is an ingredient                                  SEE Table 3-14-9
                                      along with meat or some other
                                      animal-derived product6




3-14-6                                          Animal Product Manual                                         12/2020-216
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                                                                                                                         Reference
                                                                            Dry Milk Product Including Mixtures of Dry Milk Products



   1     Such as acidophilus milk, buttermilk, cultured cream, dahi, doogh, jaja, jub-jub, kashk, kaskg, katyk, kefir, kishk, koumiss,
         kurut, kushuk, laban, laben, leben, madzoon, mast, cultured milk-based soft drinks (i.e., CALPIS®), qurut, raib, ripened
         cream butter, rob, roba, sour cream, sour cream dip, smenta, tiaourti, taho, yaourt, yogurt, zabady, and zabade.
   2     Créme frâiche is prohibited entry by the Food and Drug Administration (FDA). If this product is encountered, refer the im-
         portation to an FDA inspector.
   3     A fixative is a substance used to fix, bind, or make firm or stable such as a product used to enhance adhesion of ingredients
         to form a pill.
   4     VS recommends the following documentation or information accompanies each shipment:
        Document on company letterhead prepared by the producer/manufacturer, shipper, or seller identifying lactose or
          galactose or lactulose as the only animal-origin ingredient; OR
        Official government certificate identifying lactose or galactose or lactulose as the only animal-derived ingredient
   5     Such as rasgulla, gulab jamun, rajbhog, and cham cham.
   6     Such as prepared foods, soups, and starters.




  Dry Milk Product Including Mixtures of Dry Milk Products
  Table 3-14-3 Dry Milk Products Including Mixtures of Dry Milk Products (page 1 of 3)
                                 And the
                                 country or
   If the product is:                             And:            And:            And:                      Then:
                                 region of
                                 export is:
    Dry buttermilk              Canada                                           Is accompanied by         RELEASE
    Dry milk                                                                     proof of Canadian
                                                                                  origin3
    Dry milk fraction1
                                                                                  Is not accompa-           1. DO NOT RELEASE the
    Dry whey
                                                                                  nied by proof of             HOLD
    Mixture of dry milk                                                          Canadian origin3          2. PROVIDE the importer
     products2                                                                                                 the opportunity to obtain
    Nonfat dry milk                                                                                           the appropriate certifica-
    Powdered infant for-                                                                                      tion
     mula
    Powdered milk
    Total milk protein
   (For all of the above:
   usually packed in bulk
   bags, drums, or other
   smaller containers to be
   used as ingredients to
   mix with other ingredi-
   ents)




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Reference
Dry Milk Product Including Mixtures of Dry Milk Products


Table 3-14-3 Dry Milk Products Including Mixtures of Dry Milk Products (page 2 of 3)
                            And the
                            country or
 If the product is:                        And:            And:         And:                 Then:
                            region of
                            export is:
  Dry buttermilk           Other than     Free of         Is appro-                         RELEASE
  Dry milk                 Canada         FMD             priately
                                                           certified4
  Dry milk fraction1
                                                           Lacks        Is consigned to an   AUTHORIZE shipment
  Dry whey
                                                           certifica-   approved estab-      under seal with VS Form
  Mixture of dry milk                                     tion         lishment             16-78 (SEE Appendix H to
   products2                                                                                 complete the form)
  Nonfat dry milk                                                      Is not consigned     1. DO NOT RELEASE the
  Powdered infant for-                                                 to an approved          HOLD
   mula                                                                 establishment        2. PROVIDE the importer
  Powdered milk                                                                                with the following
                                                                                                options:
  Total milk protein
                                                                                               A. OBTAIN the appropri-
 (For all of the above:                                                                           ate certification
 usually packed in bulk                                                                        B. PROVIDE the
 bags, drums, or other                                                                            importer with the
 smaller containers to be                                                                         appropriate options
 used as ingredients to                                                                           (SEE Table 2-2-9)
 mix with other ingredi-                   Affected        Is accom-                         RELEASE or CONTROL as
 ents)                                     with FMD        panied by                         specified on the permit
 (cont.)                                                   VS permit
                                                           Lacks VS     Is consigned to an   AUTHORIZE shipment
  This is NOT the type of
                                                           permit       approved estab-      under seal with VS Form
  Products at Issue
                                                                        lishment             16-78 (SEE Appendix H to
  here. Products at
                                                                                             complete the form)
  Issue here are finished
  products from XPP                                                     Is not consigned     1. DO NOT RELEASE the
  factory, not bulk                                                     to an approved          HOLD
  materials that are                                                    establishment        2. PROVIDE the importer
  reconstituted in US.                                                                          with the following
                                                                                                options:
                                                                                               A. OBTAIN the appropri-
                                                                                                  ate certification
                                                                                               B. PROVIDE the
                                                                                                  importer with the
                                                                                                  appropriate options
                                                                                                  (SEE Table 2-2-9)




3-14-8                                        Animal Product Manual                                         12/2020-216
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                                                                                                                         Reference
                                                                            Dry Milk Product Including Mixtures of Dry Milk Products


  Table 3-14-3 Dry Milk Products Including Mixtures of Dry Milk Products (page 3 of 3)
                                 And the
                                 country or
   If the product is:                             And:             And:           And:                      Then:
                                 region of
                                 export is:
   Formulations contain-                                                          Is commercially           RELEASE
   ing dry milk products                                                          labeled and pre-
                                                                                  sented in final fin-
                                                                                  ished packaging
                                                                                  requiring no fur-
                                                                                  ther manipulation
                                                                                  of the product5; or
                                                                                  is appropriately
                                                                                  certified4
                                                                                  Is not presented          1. DO NOT RELEASE the
                                                                                  as described                 HOLD
                                                                                  above                     2. INSTRUCT the importer
                                                                                                               to contact VS–Animal
                                                                                                               Products Import Staff
                                                                                                               (301-851-3300) to
                                                                                                               obtain further instruc-
                                                                                                               tions

   1     Casein, caseinate, glucose, lactalbumin, and lactoglobulin. If the product is lactose, galactose, or lactulose, SEE Table
         3-14-2 on page 3-14-6.
   2     E.g., dry ice cream mix.
   3     Any one of the following is sufficient proof of Canadian origin:
        Invoice listing is a Canadian vendor
        Labels, commercially printed, indicating the material is a product of Canada
        North American Free Trade Agreement (NAFTA) certificate of origin (also known as CBP Form 434—available at the
           following Web address: https://www.cbp.gov/sites/default/files/assets/documents/2017-Apr/
           CBP%20Form%20434.pdf)—this form is also acceptable if produced on company letterhead or Canadian letterhead
        Original certificate signed by a Canadian Food Inspection Agency (CFIA) official stating the product originated in
           Canada or was legally imported into Canada (may be quarterly certificate)
   4     Certification endorsed by the veterinary service of the exporting country or region with the following statement:
         “The milk/milk product was processed in [name of country], a region listed in 9 CFR § 94.1(a)(2) from milk produced in [name
         of country], a region listed in 9 CFR § 94.1(a)(2) as free of foot-and-mouth disease (FMD). The milk/milk product has never
         been in any region in which FMD exists, except when moving under seal as described in 9 CFR § 94.16(c).”
   5     Includes all products containing dry milk powder or dry milk products to include the following as a partial, not all-inclusive
         list: baking mixes, cocoa mixes, drink mixes, instant cake mixes, instant pudding mixes, liquid drink mixes containing recon-
         stituted dry milk or dry milk products (including those containing sugar), pancake mixes, potato flakes, powdered infant for-
         mula, and cookie fillings.




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